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       UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF
                             PENNSYLVANIA

CATHOLIC HIGH SCHOOLS OF THE                                   Civil Action No: 2:21-cv-1808
DIOCESE OF PITTSBURGH, INC. and
SETON LASALLE HIGH SCHOOL, INC.

                       Plaintiff,
     v.
FEDERATION OF PITTSBURGH
DIOCESAN TEACHERS,

                       Defendant.

             COMPLAINT AND MOTION TO VACATE ARBITRATION AWARD

        Plaintiffs, Catholic High Schools of the Diocese of Pittsburgh, Inc. ("CHSDOP") and Seton

LaSalle High School, Inc. ("Seton LaSalle") (collectively the "Employer") file the following

Complaint and Motion for an order vacating the Opinion and Award of Arbitrator David V. Breen

dated November 29, 2021 (the "Arbitration Award"). The Arbitration Award requires Seton

LaSalle to return a teacher, who is currently on an investigatory suspension, to his teaching duties

in the classroom when (1) there are two verified civil complaints filed by two separate accusers

alleging sexual misconduct against minors pending against him, (2) the Employer's investigation

of the allegations of such sexual misconduct is not yet complete, and (3) the teacher is receiving

full pay and benefits while on the investigatory suspension.

                                            PARTIES

        1.      Plaintiff, CHSDOP, is a Section 50l(c)(3) member-model non-profit corporation

with offices at 2900 Noblestown Road, Pittsburgh, PA 15205.

        2.      Plaintiff, Seton LaSalle, is a Section 501(c)(3) member-model non-profit

corporation whose sole member is CHSDOP. Seton LaSalle is a Catholic High School with a

physical address of 1000 McNeilly Road, Pittsburgh, PA 15226,




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